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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                  PLAINTIFF,                         CRIMINAL NO. 2:97-CR-81493
                                                     HON. ROBERT H. CLELAND
v.

D-1    ALAN MIKELL,
                        DEFENDANT.
AUSA James Brunson (P28403)                          Harold Gurewitz (P14468)
United States Attorney’s Office                      Gurewitz & Raben, PLC
101 First Street, Suite 200                          Attorney for Defendant Alan Mikell
Bay City, MI 48708                                   333 W. Fort Street, #1100
(517) 895-5712                                       Detroit, MI 48226
                                                     (313)628-4733
                                                     (313) 628-4701 Fax


                ORDER GRANTING DEFENDANT’S MOTION TO PERMIT TRAVEL

       Counsel for Defendant Alan Mikell has submitted a request that Mr. Mikell be permitted

to travel to and from Tulsa, Oklahoma to Mexico during the time period of January 18-21, 2009,

to attend a business function at the request of Mr. Mikell’s employer.

       IT IS HEREBY ORDERED that Defendant Alan Mikell is HEREBY PERMITTED TO

TRAVEL TO/FROM MEXICO DURING THE TIME PERIOD OF JANUARY 18-21, 2009.

                                              S/Robert H. Cleland
                                             ROBERT H. CLELAND
                                             UNITED STATES DISTRICT JUDGE

Dated: January 9, 2009

I hereby certify that a copy of the foregoing document was mailed to counsel of record on this
date, January 9, 2009, by electronic and/or ordinary mail.


                                              S/Lisa Wagner
                                             Case Manager and Deputy Clerk
                                             (313) 234-552
